      Case 4:24-cr-00298   Document 135    Filed on 12/06/24 in TXSD   Page 1 of 1
                                                                         United States District Court
                                                                           Southern District of Texas

                    IN THE UNITED STATES DISTRICT COURT                       ENTERED
                                                                          December 06, 2024
                    FOR THE SOUTHERN DISTRICT OF TEXAS·
                                                                           Nathan Ochsner, Clerk
                             HOUSTON DIVISION
                                             §
                                             §
 UNITED STATES OF AMERICA,                   §
                                             §
 V.                                          § Criminal Action No. 24-CR-00298
                                             §
 EITHANHAIM                                  §
                                             §


                                          ORDER
         Pending before the Court is Defendant Eithan David Haim's Motion to

Dismiss the Second Superseding Indictment (Document No. 128). Having

considered the motion, submissions, and applicable law, the Court determines that

the Defendant's motion should be denied. Accordingly, the Court hereby

         ORDERS that Defendant Eithan David Haim' s Motion to Dismiss the Second

Superseding Indictment (Document No. 128) is DENIED.

         SIGNED at Houston, Texas, on this    &"day of December, 2024.


                                             ~~       DAVID HITTNER
                                                  United States District Judge
